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 7                              UNITED STATES DISTRICT COURT
 8               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 9

10 FRANCESCA GREGORINI,                          Case No.
11                 Plaintiff,                    COMPLAINT AGAINST APPLE,
                                                 INC., ET AL, FOR COPYRIGHT
12         v.                                    INFRINGEMENT; REQUEST FOR
                                                 PERMANENT INJUNCTION
13 APPLE, INC, a California corporation;
     M. NIGHT SHYAMALAN, an                      DEMAND FOR JURY TRIAL
14 individual, BLINDING EDGE
     PICTURES, INC., a Pennsylvania
15 corporation; UNCLE GEORGE
     PRODUCTIONS; a Pennsylvania
16 corporation; ESCAPE ARTISTS LLC,
     a California limited liability company;
17 DOLPHIN BLACK PRODUCTIONS,
     a California corporation; TONY
18 BASGALLOP, an individual; ASHWIN
     RAJAN, an individual; JASON
19 BLUMENTHAL, an individual; TODD
     BLACK, an individual; STEVE TISCH,
20 an individual; and DOES 1-10,
     inclusive
21

22                 Defendants.
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24         Plaintiff Francesca Gregorini brings this action against Defendants Apple, Inc.
25 (“Apple”); M. Night Shyamalan (“Shyamalan”); Blinding Edge Pictures, Inc.

26 (“Blinding Edge”); Uncle George Productions; Escape Artists LLC; Dolphin Black

27 Productions; Tony Basgallop; Ashwin Rajan; Jason Blumenthal; Todd Black; Steve

28 Tisch; and DOES 1-10, inclusive.

                                                                               COMPLAINT
                   1                                 I.     INTRODUCTION
                   2         1.    Apple TV+ and M. Night Shyamalan are heavily promoting their original
                   3 series Servant—one of eleven shows launching the ambitious new streaming service

                   4 billed as a game-changing new product from the world’s most valuable company.

                   5 Apple claims that what distinguishes its foray into television is breathtakingly original

                   6 content: the world’s best stories told by the world’s best storytellers.

                   7         Servant is a brazen copy of Plaintiff’s 2013 feature film.
                   8         2.    There is one big hole in Apple’s messaging: Servant is a wholesale copy
                   9 of Plaintiff Francesca Gregorini’s 2013 feature film The Truth About Emanuel. As

                  10 demonstrated by the long list of key parallels catalogued in Section III(C) of this

                  11 Complaint, the misappropriation is not a mere borrowed premise, idea or story. Mr.

                  12 Shyamalan has gone so far as to appropriate not just the plot of Emanuel—but also its

                  13 use of cinematic language, creating a substantially similar feeling, mood, and theme.

                  14         3.    Emanuel is a successful 2013 psychological thriller, written directed and
                  15 produced by Ms. Gregorini as her second feature film. After premiering at the

                  16 Sundance Film Festival in the prestigious dramatic competition category in 2013, the

                  17 film was released theatrically in the U.S. by Tribeca Film, followed by release on

                  18 DVD and Blu-ray. Since 2014, Apple itself has offered Emanuel for sale or rental

                  19 through iTunes (as has Amazon and other platforms).
                  20         4.    Starring Kaya Scodelario and Jessica Biel, the film tells the story of a
                  21 troubled and withholding 18-year old girl, newly hired by a white, sophisticated,

                  22 privileged yet gracious, mid-30’s, first-time mom—to help care for her new baby.

                  23 After fleeting images of what seems to be a healthy three-month-old infant, the

                  24 audience discovers that the “baby” is really an ultra-realistic “reborn” doll—shattering

                  25 the illusion of an uber-competent modern mom. The cause of the mother’s delusion,

                  26 the father later reveals, is the unspeakable grief of recently losing their real three-

                  27 month-old baby. Rather than recoil, the nanny plays along with the mother’s delusion

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                  28 even before knowing its explanation, in part for deep-seated reasons relating to the
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                                                                   2                                 COMPLAINT
                   1 absence of her own mother. Soon enough, she too is doting over the doll as if it were

                   2 real, nurturing a deep emotional connection with the mother but creating danger and

                   3 ultimately crisis as prying eyes threaten to expose shared secrets. While the baby’s

                   4 apparent rebirth offers an emotional high point, progress comes from confronting

                   5 reality. Although the film is a tense psychological thriller, it also features strong

                   6 elements of magical realism, which leaves the audience with a measure of doubt about

                   7 what’s real.

                   8        5.      Shockingly, this plot description of Emanuel could just as easily be
                   9 applied to Servant, made six years later. And that’s just the beginning of the

                  10 commonalities between the two works. These similarities include not just parallel plot

                  11 points, but also strikingly similar—and highly idiosyncratic—characters, scenes,

                  12 directorial choices, and modes of storytelling. Below, Plaintiff enumerates a long list

                  13 of striking similarities between the works, and explains why each is unusual and

                  14 artistically significant. This non-exhaustive list involves everything from shared grand

                  15 themes and character arcs, to identical granular details. While it’s impossible to

                  16 completely capture the deep parallels between these two works with a bullet list,

                  17 Plaintiff easily describes more than sufficient similarity to establish copyright

                  18 infringement. More important, anyone who takes the time to view and compare the

                  19 works will reach the inescapable conclusion that their overlap is far too striking to
                  20 result from coincidence, as Defendants quite preposterously claim.

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                  27                       Nanny and doll, in Emanuel (left) and Servant (right)

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                   1        6.     As in Emanuel, a central theme of Servant involves the extraordinary and
                   2 almost irrational reciprocal devotion between mother and nanny. In both works, the

                   3 mother’s adoration of the nanny stems from her grief and denial over losing a child.

                   4 She delusionally channels her maternal instincts towards a doll—but also more

                   5 genuinely directs them to the real-life vulnerable surrogate-daughter caring for her

                   6 “baby.” In both works, the nanny’s strong feelings for her employer stem from

                   7 longings for a lost mother, which she finds being fulfilled by a new mother figure in

                   8 dire need of a child.

                   9        7.     As described below, these are extremely rare themes in Hollywood. But
                  10 what made Emanuel even more unique were a number of Ms. Gregorini’s artistic

                  11 choices, driven by her own very personal inspirations for the story, that are surprising

                  12 because they are incongruous with themes of loss and longing. For example, Emanuel

                  13 plays as a psychological thriller in that shared secrets are always one false move away

                  14 from being exposed, which threatens to destroy the cherished but tenuous equilibrium

                  15 the central characters have found in the obviously unsustainable status quo. To

                  16 reinforce this tension, Ms. Gregorini uses the cinematic vernacular of classic

                  17 suspense, including camera angles, lighting, music, and pace. Astonishingly, and as

                  18 more fully explained below, Servant appropriates all of these idiosyncratic artistic

                  19 choices, which define Emanuel as a film.
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                  25                  Dark and foreboding tones in Emanuel (left) and Servant (right)

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                  27        8.     In both works, the proxy mother-daughter bond between mother and

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                  28 nanny co-exists with a jarring unspoken sexual tension—felt throughout and more
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                   1 overtly displayed in a surprisingly intimate bathroom scene. Again, this was a startling

                   2 and bold artistic choice by Ms. Gregorini—and one that Defendants appropriated for

                   3 Servant.

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                  10         Bathroom intimacy culminating in a kiss on the hand Emanuel (left); Servant (right)

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                  12        9.     In addition to these key thematic commonalities, Servant bears a number
                  13 of striking similarities to Emanuel even with regard to its details and imagery. The

                  14 two nannies look alike—and are similarly difficult and enigmatic. In both works,

                  15 imagery of water plays a prominent role. We learn more about each nanny when she

                  16 directs her shy young date to steal a bottle of red wine (to be paired with French bread

                  17 and cheese). Both mothers are remarkably self-possessed and positive for someone in

                  18 a psychosis, and have put together magazine-worthy homes and nurseries. Even the

                  19 dolls look remarkably alike (each having replaced babies who died at three months).
                  20 In each work, the nanny’s troubles are highlighted by a trip to her mother’s grave. As

                  21 explained below, the similarity of scenes and sequence are often uncanny.

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                  27                    The nanny, underwater in Emanuel (left) and Servant (right)

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                                                                     5                                    COMPLAINT
                   1        Defendants’ infringement is emblematic of gender injustice in the
                   2        entertainment industry.
                   3        10.    As mentioned, Servant is meant to showcase Apple’s new streaming
                   4 service. But if Servant showcases anything, it is the gender arrogance and inequity

                   5 still infecting Hollywood (and apparently Cupertino). Emanuel tells a nuanced

                   6 emotional story about motherhood and daughterhood—real, lost, and imagined. It is

                   7 clearly a woman’s story, inspired by Ms. Gregorini’s very personal struggles with her

                   8 inability to conceive a child and growing up with an absent mother (as discussed in

                   9 specific detail in the ample media coverage the film received). It is about grief,

                  10 longing, motherhood, secrets (the ones we keep from ourselves, the ones we carry for

                  11 others), and the inescapable collision course with reality. It took the collective talents

                  12 and tremendous efforts of many strong and capable women to tell this story and put it

                  13 in on the screen, in a film world dominated by men.

                  14        11.    Servant tells a substantially similar story, in a substantially similar
                  15 manner, using substantially similar tools of the trade. But what is equally damaging

                  16 and disturbing to Ms. Gregorini is a layer added to Servant by its all-male team of

                  17 creators and producers (including creator and writer Tony Basgallop, and executive

                  18 producer/director M. Night Shyamalan), in which this female-centric story is

                  19 sometimes seen through the eyes of two men—who watch and comment on the
                  20 women’s “insanity” while pounding tequila shots and pondering whether the nanny is

                  21 “fuckable.”

                  22        12.    The result of this caricature of the male gaze is the utter bastardization of
                  23 Ms. Gregorini’s work. It’s an apt metaphor for the real-life version of what could

                  24 happen here: It takes only a few old guard Hollywood men, such as Mr. Shyamalan

                  25 and Mr. Basgallop, and their new silicon valley partner Apple TV+, to negate the

                  26 considerable achievements and life experiences of the women behind Emanuel, and to

                  27 irredeemably tarnish their work. Just as the male perspective cheapens the female

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                                                                   6                                 COMPLAINT
                   1 experience in Servant, Mr. Shyamalan and Apple TV+ diminish Ms. Gregorini and

                   2 her largely female team.

                   3          13.    A review in The Atlantic makes a similar point: that Servant squanders a
                   4 compelling premise by missing the female perspective on an extremely female story:

                   5          Servant could be a series about the otherworldliness of grief, and the
                              ways in which it seems to fragment and distort reality… Servant, though,
                   6          doesn’t seem to have the emotional curiosity to earn its premise...
                              And this is the truly uncomfortable part of Servant: It urges you, over and
                   7          over, to loathe and condemn a woman whose baby has died. Look at the
                              spectacle of this woman’s delusion, the series seems to say, lingering on
                   8          the frozen plasticity of Jericho’s features. Note her narcissism, her vanity,
                              the ridiculousness of her newscasts. All six of the show’s executive
                   9          producers are men and all 10 episodes are written by Basgallop,
                              which perhaps makes it unsurprising that Servant, far from
                  10          sketching out the contours     of maternal grief, instead treats Dorothy
                              with such casual disdain.1
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                  12          14.    Gender injustice in Hollywood is not a formal part of Ms. Gregorini’s
                  13 claim, which stands on its own under the basic principles of copyright law. But it is

                  14 certainly part of the broader picture of Defendants’ misappropriation of Emanuel.

                  15 While Hollywood’s patriarchal system sometimes manifests in explicit and raw ways,

                  16 it can also operate more subtly, as it has here. But the injury to women deserving of

                  17 equality is no less grievous. Women graduating from film school know—or soon

                  18 learn—that they face far more daunting odds than their male peers. The perception

                  19 that no one is going to stop the already-powerful (usually white men) from simply
                  20 taking the artistic output of those outside the power structure serves to perpetuate the

                  21 patriarchy for another generation. This is not only unjust; it also stifles the progress of

                  22 good cinema and television.2

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                        Someone should tell the reviewer that the movie she wants to see already exists and can be rented
                       anytime on Apple’s platform: The Truth about Emanuel.
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                      Over the last 13 years, females directed less than 5% of top films—even though their movies were
                  26 as well received as those directed by men. See Clark and Pieper, Inclusion in the Director’s Chair:
                     Analysis of Director Gender & Race/Ethnicity Across 1,300 Top Films from 2007 to 2019
                  27 (Annenberg Foundation 2020).

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                   1            Defendants have arrogantly brushed aside Ms. Gregorini’s protests.
                   2            15.    The result of Defendants’ misappropriation and mangling of Ms.
                   3 Gregorini’s work is that any intention of adapting her work for premium television—

                   4 where she has concentrated her efforts and built a successful career over the past

                   5 several years—are now dashed.

                   6            16.    Despite this very real damage, Defendants have arrogantly dismissed Ms.
                   7 Gregorini’s protests by vaguely claiming that Servant was in development long before

                   8 Emanuel was made, and that any similarity is a coincidence. Indeed, Mr. Shyamalan

                   9 and Mr. Basgallop implausibly claim they have never seen Emanuel—apparently not

                  10 even curious enough to watch after hearing Ms. Gregorini’s objections. Worse, Apple

                  11 has brought stonewalling to a new level by simply referring inquiries to Mr.

                  12 Shyamalan’s lawyer (who in turns says he cannot speak for Apple).

                  13            17.    Steve Jobs acknowledged that Apple has “always been shameless about
                  14 stealing great ideas.” Mr. Shyamalan too has been publicly and credibly accused of

                  15 infringement more than once. In 2004, it was widely reported that Mr. Shyamalan’s

                  16 film The Village shared uncanny similarities with Margaret Peterson Haddix's well-

                  17 received book published nine years earlier.3 Mr. Shyamalan was also sued (in this

                  18 Court) by screenwriter Robert McIlhinney who alleged Mr.’ Shyamalan’s film Signs

                  19 was a misappropriation of his script. Once again, it appears that the powerful men of
                  20 Hollywood and Big Tech believe that appropriation of others’ intellectual property is

                  21 their right. The purpose of this lawsuit is to hold Apple and Mr. Shyamalan

                  22 accountable for their misconduct.

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  ERIKSON                  See Shyamalan's "Village" Villainy? E News August 10, 2004.
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                                                                        8                         COMPLAINT
                   1                          II.    JURISDICTION AND VENUE
                   2        18.     Plaintiff brings this action for copyright infringement (17 U.S.C. Section
                   3 101, et seq.).

                   4        19.     This Court has original subject matter jurisdiction over this action and
                   5 the claims asserted herein, pursuant to 28 U.S.C. Section 1331 (“federal question

                   6 jurisdiction”) and 1338(a)-(b) (“patent, copyright, trademark and unfair competition

                   7 jurisdiction”) in that this action arises under the laws of the United States and, more

                   8 specifically, Acts of Congress relating to patents, copyrights, trademarks, and unfair

                   9 competition.

                  10        20.     Venue is proper in this District pursuant to 28 U.S.C. Section 1391(b)(1)-
                  11 (3) because a substantial part of the events or omissions giving rise to the claims

                  12 occurred in this District.

                  13        21.     Each of the Defendants is subject to the personal jurisdiction of this
                  14 court. As described below, each Defendant distributed and promoted the subject

                  15 infringing material in California, including by expressly aiming marketing and

                  16 distribution efforts at consumers in this state.

                  17                                   III.   THE PARTIES
                  18        22.     Plaintiff Francesca Gregorini is, and at all times relevant herein has been,
                  19 a resident of California.
                  20        23.     Defendant Apple, Inc. is a California corporation doing business in
                  21 California, with its principal place of business located in Cupertino, California.

                  22        24.     On information and belief, Defendant M. Night Shyamalan is a resident
                  23 of Pennsylvania.

                  24        25.     Defendant Blinding Edge Pictures, Inc. is a Pennsylvania corporation
                  25 doing business in California, with its principal place of business located in Berwyn,

                  26 Pennsylvania.

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                   1        26.    Defendant Uncle George Productions, LLC is a Pennsylvania limited
                   2 liability company doing business in California, with its principal place of business

                   3 located in Newtown Square, Pennsylvania.

                   4        27.    Defendant Escape Artists LLC, a motion picture and television
                   5 production company, is a California limited liability company, doing business in

                   6 California, with its principal place of business located in Culver City, California.

                   7 Defendants Tisch, Black, and Blumenthal are principles of Escape Artists.

                   8        28.    On information and belief, Defendant Steve Tisch is a resident of
                   9 California.

                  10        29.    On information and belief, Defendant Todd Black is a resident of
                  11 California.

                  12        30.    On information and belief, Defendant Jason Blumenthal is a resident of
                  13 California.

                  14        31.    On information and belief, Defendant Ashwin Rajan is a resident of
                  15 California.

                  16        32.    On information and belief, Defendant Tony Basgallop is a resident of
                  17 California.

                  18        33.    Defendant Dolphin Black Productions is a California corporation, doing
                  19 business in California, with its principal place of business located in Beverly Hills,
                  20 California. Dolphin Black is Mr. Basgallop’s company.

                  21        34.    Plaintiff is ignorant of the true names and capacities of the Defendants
                  22 sued herein as Does 1-10, inclusive, and therefore sues said Defendants by such

                  23 fictitious names. Plaintiff will amend this Complaint to allege the true names and

                  24 capacities when the same has been ascertained. On information and belief, each

                  25 fictitiously-named Defendant is responsible in some manner for the occurrences

                  26 herein alleged, and that Plaintiff’s damages as herein alleged were proximately caused

                  27 by their conduct.

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                   1            35.    Each of the Defendants acted as an agent for each of the other
                   2 Defendants in doing the acts alleged, and each Defendant ratified and otherwise

                   3 adopted the acts and statements performed, made or carried out by the other

                   4 Defendants so as to make them directly and vicariously liable to the Plaintiff for the

                   5 conduct complained of herein. Each Defendant is the alter ego of each of the other

                   6 Defendants.

                   7                                IV.   GENERAL ALLEGATIONS
                   8            Ms. Gregorini is the writer, director and producer of The Truth About
                   9            Emanuel.
                  10            36.    A graduate of Brown University, Plaintiff Francesca Gregorini co-wrote
                  11 and sold television pilot scripts to both HBO and Paramount before co-writing and co-

                  12 helming her directorial feature film debut Tanner Hall (starring Rooney Mara and

                  13 Brie Larson). Emanuel, which she wrote, produced, and directed, is Ms. Gregorini’s

                  14 second feature film.

                  15            37.    Ms. Gregorini is female and gay. While her identity informs her work, it
                  16 does not define her as an artist. Like all successful women in the entertainment

                  17 industry, Ms. Gregorini has learned to navigate the gender inequity endemic to her

                  18 profession. She regularly works on mainstream projects with mainstream male and

                  19 female producers and actors. In television, she has recently directed Emma Chan in
                  20 Humans (AMC), Bryan Cranston in Electric Dreams (Amazon), Uma Thurman in

                  21 Chambers (Netflix), Sandra Oh in Killing Eve (AMC) and Heather Graham in The

                  22 Hypnotist’s Love Story (ABC, as the pilot director). She is currently attached to direct

                  23 a $10 million feature film, and is in the process of pitching a television series.

                  24            38.    The idea for The Truth about Emanuel4 came to Ms. Gregorini in 2010,
                  25 borne from personal struggles. She created the mother character, Linda, as a means to

                  26 explore and heal grief related to her inability to become pregnant. Pained, Ms.

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  ERIKSON                  The work was formerly known as Emanuel and the Truth About Fishes.
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                                                                      11                            COMPLAINT
                   1 Gregorini imagined a scenario that would be even worse than hers: giving birth to a

                   2 child only to see it die. This is, of course, Linda’s story.

                   3          39.   It is human nature is to avoid pain. Ms. Gregorini found her ways
                   4 (including writing Emanuel) and Linda found hers (parenting Chloe, the “reborn”

                   5 doll).

                   6          40.   The nanny character, Emanuel, is the carrier of, and co-conspirator in,
                   7 Linda’s secret/delusion. Growing up in a home with alcoholism, Ms. Gregorini too

                   8 was the carrier of secrets for the adults in her life—and at times she bought into those

                   9 delusions in order to stay connected, keep the peace, and navigate unfathomable

                  10 situations. The character of Emanuel is borne of that deep-seated knowledge of what it

                  11 means to want connection with a mother figure so badly, one will live in a fiction in

                  12 order to maintain it.

                  13          41.   In the film Emanuel, Ms. Gregorini took her two biggest and most
                  14 personal wounds—growing up with an often absent mother and her inability to

                  15 become a mother herself—and fashioned a psychological thriller that would explore

                  16 their complexities.

                  17          42.   Emanuel was a labor of love for Ms. Gregorini. She worked for years to
                  18 develop it, and to raise the shoestring budget needed to produce it. She finally cobbled

                  19 together the $1.2 million budget from mostly small-dollar investors—and later was
                  20 forced to raise additional money for post-production work.

                  21          43.   The nanny role was originally written for Rooney Mara, who was
                  22 replaced by Kaya Scodelario due to scheduling. Ms. Mara remained on the project as

                  23 a co-producer of Emanuel. Jessica Biel replaced Helena Bonham Carter as the mother.

                  24          44.   Ms. Gregorini and her accomplished cast and crew filmed the production
                  25 in 2012.

                  26          45.   Emanuel premiered in Dramatic Competition at the 2013 Sundance Film
                  27 Festival, and was selected to showcase at Sundance UK later that same year. The film

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                   1 went on to screen at many other film festivals in the U.S and around the world. The

                   2 film was released in U.S. theaters on January 10, 2014.

                   3        46.    Ms. Gregorini earned a nomination at the Sundance Film Festival for the
                   4 2013 Grand Jury Prize – Dramatic, and earned the Best Feature Director prize at the

                   5 2013 L.A. Femme Film Festival. The film earned awards at the 2013 Ashland

                   6 Independent Film Festival and 2013 Brooklyn Film Festival. Tribeca Enterprises chief

                   7 creative officer Geoffrey Gilmore said “Francesca Gregorini’s superb Emanuel and

                   8 the Truth About Fishes is a rare and remarkable work of mixed genres and

                   9 expectations. A taut, surprising and original thriller featuring a career best

                  10 performance from Jessica Biel and a breakout role by Kaya Scodelario.”

                  11        Defendants had access to Emanuel—years before making Servant.
                  12        47.    There is no question that Emanuel preceded Servant, and that Defendants
                  13 had access to it continually since 2013. Ms. Gregorini penned the screenplay to

                  14 Emanuel in 2011, and registered it with the Writer’s Guild on January 19, 2012—

                  15 nearly eight years before Servant premiered. Copyright protection of the film

                  16 commenced when filming was completed in 2012. The work was widely disseminated

                  17 to the public beginning in 2013. Emanuel Film, LLC first applied to register the

                  18 copyright in 2012. Since 2014, Emanuel has been available for purchase or rental on

                  19 Apple’s own iTunes.
                  20        48.    Given the striking similarities, it is inconceivable that Servant’s creators
                  21 developed the television series without reference to Emanuel. And indeed, Mr.

                  22 Basgallop has had specific access to Emanuel. In addition to the Sundance premier

                  23 (U.S. and U.K.) and nationwide theatrical release of Emanuel, and the film’s

                  24 availability on streaming platforms, Mr. Basgallop had occasion to screen the film in

                  25 2017, when Ms. Gregorini’s agents at CAA pitched her to direct episodes of Berlin

                  26 Station, a series Mr. Basgallop executive produced. On information and belief, Mr.

                  27 Basgallop (as well as the other executives of Berlin Station) received an email from

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                                                                  13                                  COMPLAINT
                   1 Ms. Gregorini’s agents at CAA, submitting her for the Berlin Station project, that

                   2 included a link to Ms. Gregorini’s most prominent work to date, Emanuel.

                   3        Servant is one of eleven original series that Apple chose to showcase the
                   4        launch of its ambitious new streaming service Apple TV+.
                   5        49.    Apple TV+ is the ambitious new streaming service of Defendant Apple,
                   6 Inc.—the world’s most valuable company.

                   7        50.    By all accounts, Apple sees Apple TV+ as its future. According to the
                   8 New York Times, “Apple has gone Hollywood for a reason. With iPhone sales

                   9 flattening, the company sought out other ways to generate revenue. In addition to

                  10 Apple TV Plus, it has unveiled a credit card and started a video-game subscription

                  11 service.”

                  12        51.    And indeed, Apple used its considerable economic might to hire some of
                  13 Hollywood’s most established names. As recently reported in the New York Times:

                  14 “Led by the veteran Hollywood executives Zack Van Amburg and Jamie Erlicht,

                  15 Apple TV Plus has made deals with Oprah Winfrey, Steven Spielberg, J.J. Abrams

                  16 and M. Night Shyamalan, among others.” In other words, Apple touts M. Night

                  17 Shyamalan’s Servant as one of its marquee series.

                  18        52.    Apple certainly has competitors in the entertainment arena. Netflix and
                  19 HBO are seen as the titans of original content for television. Netflix, HBO Max,
                  20 Disney, Amazon Prime, and Hulu offer rival streaming services, each coupling

                  21 original programming with a deep reservoir of existing content.

                  22        53.    Amidst this competition, Apple’s marketing strategy is to push the
                  23 message that what sets it apart from its rivals is its unparalleled stories and

                  24 storytellers. In short, Apple has staked its claim on doing what only it can do (similar

                  25 to what it did with the personal computer, the iPhone, and tablets): gathering the best

                  26 minds on earth to come up with new and revolutionary ideas.

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                   1        54.    This theme was very much on display at the announcement of Apple
                   2 TV+ last year. There, Apple CEO Tim Cook told a hushed and rapturous live

                   3 audience:

                   4        Apple has always tried to make the world a better place, and we believe
                            deeply in the power of creativity… We feel we can contribute something
                   5        important to our culture and to society through great storytelling, so we
                            partnered with the most thoughtful, accomplished, and award-winning
                   6        group of creative visionaries who have ever come together in one place
                            to create a new service unlike anything that’s been done before.
                   7

                   8        55.    Cook then handed off the presentation to Erlicht and Van Amburg, who
                   9 were on-message:

                  10        At Apple, we know that great stories begin and end with the incredible
                            artists who tell them, the artists who are thoughtful enough and brave
                  11        enough to share their best story with us and the world.
                            …
                  12        We’ve partnered with the most accomplished storytellers as well as a
                            new generation of the most exciting voices who together will define
                  13        Apple TV+ as the destination with the highest quality originals. The
                            original shows and movies will intellectually challenge and thrill, define
                  14        and redefine our expectations, inspire us, make us laugh, transform our
                            mood and brighten our day, but make us believe anything is possible,
                  15        from documentaries to dramas, from kids to comedies, the highest quality
                            of storytelling in one single place. This is Apple TV+.
                  16

                  17        56.    Apple has put its money where its marketing mouth is. The company’s
                  18 annual content budget has come in at a staggering $6 billion, according to the

                  19 Financial Times. Unlike Facebook and Google, which have tentatively dipped their
                  20 toes in entertainment, Apple has gone all-in. Within a year, Apple TV+ could feature

                  21 as much original content as longtime cable networks such as Showtime. Its

                  22 advertising budget for September and October 2019 alone was $40 million—and

                  23 that’s not counting November when advertising really ramped up.

                  24        57.    The staggering amount of money and energy Apple has put behind Apple
                  25 TV+ has so far resulted in the eleven original shows that comprise the launch of the

                  26 service. One of those shows, of course, is Servant. In other words, Servant is what all

                  27 the fuss and money is about. Notably, Servant was released on Thanksgiving, a day

  ERIKSON
                  28 known in the entertainment industry as one of the best times for an important rollout,
LAW GROUP
   ATTORNEYS
 LOS ANGELES CA
                                                                15                               COMPLAINT
                   1 due to high viewer engagement. Ahead of the series premiere, on November 22, 2019,

                   2 Apple renewed the series for a second season.

                   3        58.    In the case of Servant, the “creative visionaries” are two men with long
                   4 Hollywood histories: executive producer M. Night Shyamalan, touted by Apple as the

                   5 creative force behind the show; and Tony Basgallop, the creator and writer.5

                   6 Mr. Basgallop wrote every episode and executive produces alongside Mr. Shyamalan

                   7 and four other men.

                   8        59.    Mr. Basgallop offers his own vague and implausible account of his
                   9 personal inspiration for the story:

                  10        It’s been something I’ve been writing for a very long time — since I’ve
                            had children, really, which is 17 years ago. I wanted to write about the
                  11        changes that children bring into your life and the fears they bring and
                            how the slightest thing that goes wrong can affect you — just disaster
                  12        scenarios. That was the initial idea. Over the years I’ve been developing
                            these characters and trying to tell a story that’s very contained. I’ve
                  13        thrown away a lot of the rules I’ve learned about writing in television for
                            this one; I’ve very consciously tried to  make it personal and yet keep it
                  14        genre-specific — play it as a thriller.6
                  15

                  16        Servant is substantially similar to Emanuel.
                  17        60.    Servant is substantially similar to The Truth About Emanuel, in its
                  18 themes, setting, characters, plot, sequence of events, mood, pace, and dialogue. Again,

                  19 the central subject matter of both works is the mutual dependence of a mother and a
                  20 nanny who serves as a surrogate daughter figure—ameliorating the unfulfilled

                  21 longings the mother has for a child, and the nanny for a mother. To explore this

                  22 subject, the works tell remarkably similar stories, using remarkably similar (and

                  23 unique) techniques. Any one of the many commonalities enumerated below would be

                  24 surprising—but the odds of them all appearing in two independent works would be

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                       5
              The New York Times reports that Mr. Shyamalan is “the glamour name among the executive
         26 producers, and he directed two episodes, but the show was created and written by the British TV
            veteran Tony Basgallop.
         27
            6
              In contrast, years ago, Ms. Gregorini very specifically described her very personal inspiration and
 ERIKSON
         28 how it led to the creation of Emanuel and its characters. See ¶¶ 38-41, above.
LAW GROUP
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                                                                16                                   COMPLAINT
                   1 astronomical. Further, the unique selection and arrangement of these elements—

                   2 which is common to Emanuel and Servant—make it a statistical certainty that

                   3 Defendants copied Emanuel in making Servant.

                   4        61.    As mentioned above, the following list of commonalities is necessarily
                   5 an abbreviation. The only way to fully appreciate the extent of Servant’s overlap with

                   6 Emanuel is to view the entirety of both works (i.e. the film Emanuel and Episodes 1-3

                   7 of Season 1 of Servant), with the benefit of further explanation and facts regarding the

                   8 nature of the similarities, their significance in the works, the rarity/idiosyncrasy of the

                   9 relevant artistic choice in Emanuel, and an analysis of the point of comparison in light

                  10 of conventions in film and television. For this reason, the entirety of both works (the

                  11 film Emanuel and Episodes 1-3 of Season 1 of Servant, both approximately an hour

                  12 and a half of content) are incorporated by this reference—and digital copies will be

                  13 furnished to the court.

                  14        Theme
                  15        62.    The themes of Servant are remarkably similar to those of Emanuel. For
                  16 example, the key themes of both works include:

                  17     x The unspeakable grief of losing a baby.
                  18     x Denial and self-delusion as a means of avoiding grief; and the dangerous and
                  19        precarious nature of this coping mechanism.
                  20     x The incredible complexity of the mother/child bond and especially its absence
                  21        (including manners in which the severing of such a bond might give rise to
                  22        psychological pathologies).
                  23     x The relationship between familial and maternal longing, and sexuality.
                  24     x Shared secrets and complicity in another’s delusion—particularly in the context
                  25        of a mother/daughter relationship.
                  26     x The dangers of shared delusion; and how such collusion can lead to crisis,
                  27        including a collision with reality.

  ERIKSON
                  28     x The mystery/danger of a stranger coming to town, or a new person in the mix.
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                                                                  17                                COMPLAINT
                   1     x The redemptive potential of confronting reality (or equivalently, the lack of
                   2        redemption in failing to confront reality).
                   3     x The safety, sanctity and comfort of home—and the obverse dangers of the
                   4        outside world.
                   5        63.   Some of the themes mentioned above are extremely rare in Hollywood,
                   6 which renders the commonalities between Emanuel and Servant all the more striking,

                   7 and thus all the more probative of Defendants’ appropriation of Ms. Gregorini’s

                   8 protected expression. For example, while many of the industry’s most iconic films

                   9 explore the troubles between fathers and sons (from The Godfather, There Will Be

                  10 Blood, and Star Wars; to Mrs. Doubtfire and Finding Nemo), the same cannot be said

                  11 of the troubled mother/daughter theme explored by the proxy mother/nanny

                  12 relationship in Emanuel and Servant. Indeed, Emanuel was the first film to explore

                  13 maternal longing by examining its delusional misplacement, while also studying a

                  14 daughter’s misplaced longings for her mother. Servant was the second. Likewise,

                  15 Emanuel’s surprising depiction of sexual longing as related to misguided maternal

                  16 sentiments was unprecedented until Servant offered a similar take.

                  17        Setting
                  18        64.   In addition, Servant unfolds in a setting that is substantially similar to
                  19 that in Emanuel, including as follows:
                  20     x As in Emanuel, the main characters (especially the nanny and mother) live in
                  21        such close proximity that truths are often revealed by snooping, spying,
                  22        voyeurism, or inevitable casual observation.
                  23     x To facilitate this idea of the characters watching each other, both works
                  24        showcase a dark but often dramatically lit exposed wood staircase, overlooking
                  25        the first floor where much of the action unfolds—perfect for listening and
                  26        snooping.
                  27

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                  17    The nanny, watching from the top of the stairs in Emanuel (previous) and Servant (above)

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                  19   x As in Emanuel, Servant unfolds in the mother’s beautiful, immaculate, old-
                  20      world, remarkably well-put-together home. Both homes are filled with
                  21      expensive furnishings: Just the right touches and somehow everything is in its
                  22      place.
                  23   x As in Emanuel, the nanny in Servant is in awe of her employer’s house. When
                  24      first alone there, each nanny takes a long and introspective opportunity to soak
                  25      in her surroundings, taken by how different it is from what she is used to. In
                  26      both works, the nannies seem to imagine themselves becoming their employer’s
                  27      daughter and living in her fantasy house.

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                                                                  19                                   COMPLAINT
                   1   x As in Emanuel, the house in Servant is so important as to almost become a
                   2      character. In both works, the house is a safe and comfortable sanctuary—as
                   3      contrasted with the dangers of the outside world, including the key danger of
                   4      the mother’s secrets being exposed.
                   5   x As in Emanuel, Servant furthers this sanctuary theme by prominently featuring
                   6      a large show-piece entry hallway, which functions as a kind of portal from the
                   7      outside world to the inner sanctum where the family secrets reside. These
                   8      hallways facilitate scenes of prying eyes entering the house. As in Emanuel, the
                   9      importance of the doorway—as dividing worlds—is highlighted by close-up
                  10      shots of the nanny’s feet as she crosses the home’s threshold.
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                  16                      The entry hallway in Emanuel (left) and Servant (right)

                  17

                  18   x Both works feature a critical trip to the nanny’s mother grave.
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                  24               The nanny’s mother’s grave in Emanuel (left) and Servant (right)

                  25

                  26   x The nurseries in the two works are similar, including vertically striped
                  27      wallpaper, old-fashioned cribs, beautiful vintage baby items, and remarkably,

  ERIKSON
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LAW GROUP
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                                                                    20                                COMPLAINT
                   1      an antique rocking horse that obviously won’t be pressed into service for a few
                   2      years.
                   3

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                   8               The rocking horse in nursery, in Emanuel (left) and Servant (right)

                   9

                  10   x In both works, the nurseries are magazine-worthy—almost to the point of being
                  11      hyper-real. In each work, the second-story nursery is introduced by the same
                  12      infrequently-used camera technique: a shot from outside the house, pushing in
                  13      on the second story window, to show a figure fussing over the baby. The shot
                  14      introduces the nursery in an voyeuristic way.
                  15

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                  20                    Beautiful nurseries, in Emanuel (left) and Servant (right)

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                  26    First look at nursery and baby, through the window, in Emanuel (left) and Servant (right)

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                                                                   21                                    COMPLAINT
                   1     x Like Emanuel, Servant includes a number of scenes of family and extended-
                   2        family dinners around the traditional family dinner table. In both works, these
                   3        scenes seem to deconstruct conventional ideas of domestic bliss. If one didn’t
                   4        know better, the scene looks like typical domesticity—which is of course at
                   5        odds with the troubles and secrets bubbling to the surface. For this reason,
                   6        cracks and tensions reveal themselves at these family dinners—creating a tense
                   7        mood.
                   8        Characters
                   9        65.     Emanuel and Servant revolve around strikingly similar characters, with
                  10 similar backgrounds and story arcs. In one sense, plot similarities dictate similarities

                  11 in characters—but here the similarities go much further.

                  12                The Nannies: Emanuel (Emanuel) and Leanne (Servant)
                  13        66.     Emanuel and Leanne are extraordinarily similar, especially in the
                  14 following respects:

                  15     x Both are pretty, white, 18-year old girls. Emanuel says that she will be “18 in a
                  16        month.” Leanne reports that she is 18. In both works, the nannies’ youth and
                  17        attendant quirks are remarked upon by other characters.
                  18     x As shown above, Leanne looks very much like Emanuel. Not only are they the
                  19        same age and race, they also share a slight frame, fair skin, blue eyes, and long
                  20        dark hair.
                  21     x Both are played by young English actresses—a common Hollywood tool to
                  22        lend an “outsider” quality to a character.
                  23     x Like Emanuel, Leanne is moody, withholding, unpredictable, mysterious and
                  24        reticent. Neither speaks freely, nor smiles frequently. In both works, other
                  25        characters must put in considerable effort to get them to enjoy themselves and
                  26        must coax personal information from them because they are both so private.
                  27     x Leanne and Emanuel have similarly troubled histories: Each exists without her

  ERIKSON
                  28        mother, who died many years prior—and as a result gravitates to and
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                                                                 22                                COMPLAINT
                   1       sympathizes with the mother who has delusionally hired them.
                   2    x Both take on a double maternal role: outwardly caring for the baby, but more
                   3       fundamentally, caring for the grieving mother.
                   4    x Both also take on a daughterly role, acting as a receptacle for the mother’s
                   5       maternal instincts, while also sating their own longing for a mother figure.
                   6    x Both Leanne and Emanuel “shouldn’t be here.” They each should have died
                   7       when their mothers did.
                   8                The Mothers: Linda (Emanuel) and Dorothy (Servant)
                   9       67.     Linda and Dorothy are remarkably similar, especially in the following
                  10 respects:

                  11    x Both are in their mid-thirties (slightly older than the average new mom).
                  12    x Both are white, sophisticated, and privileged.
                  13    x Both are remarkably confident and self-possessed for women in the midst of
                  14       psychosis—especially in the ease and grace in which they direct their nannies.
                  15    x Both mothers share the same positive, effervescent, “type A” personality. If
                  16       they are sad, they do not show it. In fact, quite the opposite: they are
                  17       preternaturally happy, flitting around arranging flower vases in their pristine
                  18       homes wearing pristine clothing.
                  19    x Both are extremely stylish in their clothing and home décor.
                  20    x Both suffered the tragic loss of their first and only baby—resulting in the
                  21       delusion that a reborn doll is that baby. In other words, both channel their
                  22       maternal love into a doll—so fully committed to the fantasy that they hire a
                  23       nanny (towards whom they feel motherly).
                  24    x Both are affectionate and doting mothers.
                  25    x Both mothers’ displaced maternal longing is channeled not only into a reborn
                  26       doll, but also into the nanny. In both works, an early indicator of this dynamic
                  27       is a scene in which the mother chooses clothes from her closet for the nanny to

  ERIKSON
                  28       wear.
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                                                                23                                COMPLAINT
                   1       x In both mother characters, there is an unspoken, perhaps unconscious, sexual
                   2          longing that seems to be fulfilled only by the nanny. Neither work
                   3          consummates an affair, but both maintain an ambiguous attraction that has the
                   4          audience wondering how far it might go.
                   5                    The Dolls: Chloe (Emanuel) and Jericho (Servant)
                   6          68.   The doll in Servant looks almost identical to its extremely realistic
                   7 precursor in Emanuel. For example:

                   8       x Both dolls are as physically realistic as possible.7 As a result, both works
                   9          include a number of “creepy” shots of the almost-but-not-quite lifelike “baby”
                  10          (especially shots of the baby’s open eyes). Once again, the physical
                  11          resemblance of the dolls is the result of casting. Both are ultra-lifelike “reborn”
                  12          baby dolls.
                  13       x Both dolls look to be about three months old (which of course reflects another
                  14          remarkable similarity between the works: that both babies died at around this
                  15          same age).
                  16       x Both dolls “come back to life,” as part of the nanny’s effort to resolve her own
                  17          and the mother’s grief.
                  18       x Both dolls have patchy dark hair—which was not at all an obvious choice in
                  19          Servant given that Dorothy has red hair.
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                  25                           The dolls, in Emanuel (left) and Servant (right)

                  26   7
             The basic premise—of a mother so traumatized by her baby’s death that she cares for a doll she
         27 believes  to be her real baby—does not dictate the look of that doll. For example, in the acclaimed
            2007 film Lars and the Real Girl, the main character “dates” a doll he believes to be real, but no
 ERIKSON
         28 effort is made to make the doll appear lifelike.
LAW GROUP
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                                                                     24                              COMPLAINT
                   1                  The Fathers: Thomas (Emanuel) and Sean (Servant)
                   2        69.    In both works, the fathers serve the important role of explaining to the
                   3 nanny and audience what has happened—birth, death, lack of certainty regarding

                   4 cause of death, grief, and then a doll. In each work, we find the father somewhat

                   5 insensitive—perhaps out of exhaustion but perhaps also because he cannot understand

                   6 a mother’s grief. In Emanuel, this is shown by Thomas’s principal reaction to his

                   7 wife’s grief-induced psychosis: to have her committed to a psychiatric facility. In

                   8 Servant, this is shown by the husband’s crass reference to his wife as crazy and talk of

                   9 whether the nanny is “hot.”

                  10        70.    Casting of the fathers is also similar. Sean and Thomas are cut from the
                  11 same cloth: Both are tall, hipster-type white men who look like they’ve stepped out of

                  12 a beer commercial.

                  13         The Nannies’ Love Interests: Tobe (Emanuel) and Claude (Servant)
                  14        71.    Both Emanuel and Leanne have romantic interludes with a boy their own
                  15 age. In both works, the boy is timid, shy, sexually immature, and diminutive—

                  16 although surprisingly intelligent and sophisticated. Both are taken aback by, and

                  17 unsure how to handle the nanny’s intensity. Both nannies take the romantic initiative:

                  18 arranging the date and taking control of it. This is depicted in both works by the nanny

                  19 directing the boy to steal a bottle of red wine; and by the nanny’s choreographing the
                  20 date. The boys in both works are thrilled that an attractive young girl has taken an

                  21 interest, and happy to do as they are told.

                  22               The Antagonists: Arthur (Emanuel) and Julian (Servant)
                  23        72.    Both works feature a nebbish, petulant, persnickety, quirky, professorial,
                  24 twenty-something man who poses a threat to the nanny, and acts as the nanny’s

                  25 primary foil and antagonist. In Emanuel, this character is Arthur, whom she works

                  26 with. Arthur ultimately insinuates himself into the household and questions the

                  27 nanny’s motives, competency, and possible criminality. In Servant, this character is

  ERIKSON
                  28 Julian, the mother’s brother, who also insinuates himself into the household and
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                                                                   25                             COMPLAINT
                   1 questions the nanny’s motives, competency, and possible criminality. In both works,

                   2 there is a powerful scene where this character confronts the nanny and threatens to

                   3 expose her lies and alert the authorities.

                   4         73.    The two actors who play these characters are very similar in appearance:
                   5 bowl haircuts, and rumpled suits with loose knit ties. They are both medium height

                   6 white guys who could be brothers or fraternal twins.

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                  13                       The antagonists, in Emanuel (left) and Servant (right)

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                  15         Plot
                  16         74.    The plot of Servant is substantially similar to that of Emanuel. As
                  17 explained above, and as a threshold matter, Servant’s premise is identical to

                  18 Emanuel’s. Out of grief, a mother replaces her dead infant with a life-like reborn doll.

                  19 To her husband’s concern, she cares for the doll as if it were their living baby. When
                  20 she hires a nanny who also treats the doll as if it were alive, conflicts of loyalty arise

                  21 that cause dangerous fissures. But the plot similarities between the two works go

                  22 much deeper than this premise. For example:

                  23     x In both works, the nanny is the focal point—as the titles make clear.
                  24     x As in Emanuel, Servant’s nanny is newly hired by a sophisticated and
                  25         privileged white new mother, to care for a roughly three-month old baby. As in
                  26         Emanuel, the mother in Servant appears to be confident, competent, cheerful,
                  27         positive and self-possessed; and gives direction with kindness.

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LAW GROUP
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                                                                    26                              COMPLAINT
                   1   x In both works, the nanny seemingly appears in the mother’s life through
                   2      happenstance. In Emanuel, she happens to live next door to the mother’s new
                   3      house. In Servant, the nanny is “a friend of a colleague of an acquaintance,”
                   4      procured with the help of a “shout on Twitter.”
                   5   x As in Emanuel, the nanny in Servant endures an awkward yet cute “get to know
                   6      you” question and answer scene with her employer—in which the nanny is
                   7      likely cringing at some of her answers as soon as they escape her lips, but the
                   8      mother is forgiving. In Emanuel, the awkwardness is shown when the nanny
                   9      struggles to remedy a bad answer. In Servant, the awkwardness is shown when
                  10      Leanne cannot capitalize on an initially promising answer.
                  11   x As in Emanuel, the nanny in Servant is quickly in awe of the mother, which is
                  12      partly communicated through her voyeurism: In Emanuel, she watches the
                  13      mother through her bedroom window. In Servant, the nanny oddly watches the
                  14      mother do her local news broadcasts on television.
                  15   x In both works, the nanny quietly and contemplatively takes in each detail of the
                  16      mother’s beautiful home, clearly seduced by what she sees and wanting to
                  17      become a part of it.
                  18   x Early on in each work, the audience might be struck by how easy the baby is to
                  19      care for. In each work, the audience catches a few fleeting and unremarkable
                  20      glimpses of the baby.
                  21   x Relatively early in both works, the audience learns that the baby is not real, but
                  22      rather an ultra-realistic “reborn” doll. This reveals that the mother, far from
                  23      being competent and self-possessed, is in the midst of a psychosis.
                  24   x In both works, the mother is caring for the doll, and treating it as real, as the
                  25      result of the trauma caused by the death of her real baby at three months.
                  26   x As in Emanuel, the nanny in Servant very quickly realizes the mother truly
                  27      believes the doll to be real, and decides to play along with the delusion.

  ERIKSON
                  28      Notably, neither nanny has even a moment where she confronts the mother or
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                                                               27                                COMPLAINT
                   1      laughs at the absurdity of the situation. Rather, both nannies almost
                   2      immediately treat the doll as real.
                   3   x In scenes that are uncannily similar, the nannies in both works sing and speak to
                   4      the doll/baby as if it were alive, even when they are alone and there would be
                   5      no need to keep up the ruse.
                   6   x Both works feature a scene in which the father explains what has happened: the
                   7      death of the baby, the psychotic break which was ameliorated only when the
                   8      mother came to believe the reborn doll was her baby. In both works, the father
                   9      reports that the precise cause of death is unknown—although the viewer does
                  10      not know whether this is true. In both works, the nanny appears annoyed by the
                  11      father’s insensitivity to his wife’s grief and odd coping mechanism, which
                  12      causes the nanny to feel closer and more protective of the mother.
                  13   x Both works contain a scene showing the mother, alone in front a mirror,
                  14      considering her post-baby body and stretch marks. The disconcerting effect is
                  15      that we see the mother as a normal mom with normal post-partum concerns.
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                  21                Inspecting stretch marks, in Emanuel (left) and Servant (right)

                  22

                  23   x In both works, the absence of the nanny’s mother has left a hole in her life that
                  24      her relationship with the mother begins to fill—in a way that complements the
                  25      hole in the mother’s life caused by the death of her baby.
                  26   x In both works, the nanny and mother develop an extraordinary reciprocal
                  27      fondness. In both works, there are hints that the mother’s immediate fondness

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LAW GROUP
   ATTORNEYS
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                                                                  28                                  COMPLAINT
                   1          for the nanny—which seems somewhat unwarranted—is in part motherly, and
                   2          may stem from a further warping of her already-displaced maternal instincts.
                   3       x In both works, the mothers go so far as to comment that they see themselves in
                   4          the nanny (as one might say of a daughter).8
                   5       x Likewise, both nannies emulate the mothers (including by sitting at the
                   6          mother’s vanity while applying the mother’s makeup).
                   7       x In both works, despite the reciprocal mother-daughter bond between mother
                   8          and nanny, the relationship is nuanced with sexual tension. In both works, this
                   9          is communicated primarily through a scene in the bathroom, where one helps
                  10          the other with a painful condition. In Emanuel, it is the mother tending to
                  11          Emanuel’s cut in an unmistakably and spontaneously erotic manner,
                  12          culminating in a lingering kiss on the hand. In Servant, it is the nanny tending
                  13          to the mother’s painful mastitis with a breast massage, which turns
                  14          spontaneously erotic, culminating in a lingering kiss on the forearm.9
                  15       x In both works, the odd dynamics of the maternal/erotic relationship between
                  16          nanny and mother is also communicated in a scene where the mother helps
                  17          dress and then beautify the nanny. In both scenes, the mother takes in and
                  18          marvels at the nanny’s beauty.
                  19
                       8
                         In Emanuel, the mother says “In a lot of ways I see myself in you.” In Servant, the mother says “I
                  20
                       love this girl. She’s just like me.”
                  21   9
                         The clumsiness of Servant’s eroticism serves as another reminder that this is a woman’s story told
                       by men. Who else but a man could find mastitis sexy? As one reviewer put it: “By this time, Leanne
                  22
                       has become firmly entrenched in the house as a friend, caregiver, and oddly erotic breast masseuse.
                  23   In a particularly bizarre scene, Leanne helps Dorothy massage her breast while in the bathtub to
                       relieve her mastitis. A normal part of womanhood gets an icky sexual treatment.” Not knowing how
                  24   to competently depict this nuanced relationship, Servant slavishly mimics Emanuel by including the
                       surprisingly intimate wound-tending interlude in the master bathroom—but hits us over the head
                  25   with the sexuality by giving Dorothy a faux orgasm. As another commentator puts it: “What I wasn’t
                       expecting, though, is the odd sexuality that permeates the first three episodes. It begins with
                  26
                       Dorothy’s mastitis as Leanne discovers her, moaning in pain in the bathtub. And after an awkward
                  27   moment, Leanne kneels next to the tub, reaches over and begins massaging Dorothy’s breast. As she
                       grinds on it, Dorothy moans and figuratively climaxes with an orgasmic moan and a squirt of milk
  ERIKSON
                  28   that looks vaguely seminal.”
LAW GROUP
   ATTORNEYS
 LOS ANGELES CA
                                                                        29                                    COMPLAINT
                   1   x In both works, other characters question the mother/nanny bond and question
                   2      the nanny’s experience and motivations.
                   3   x In both works, the bizarreness of the mother/nanny relationship is also
                   4      expressed by the nanny looking on with a measure of discomfort as the mother
                   5      readies herself for a date. Both works show the mother applying her makeup at
                   6      a vanity, with the nanny shown out of focus on a bed behind her. In both works,
                   7      the nanny remarks on the mother’s beauty as they discuss the impending date.
                   8      The similarity of these scenes goes beyond their plot points—each looks and
                   9      feels the same.
                  10   x Following this scene, in each work, the nanny is shown seated at the mother’s
                  11      vanity. In each work, we watch the nanny in the mirror as she oddly applies the
                  12      mother’s makeup to herself—quite out of character and without any apparent
                  13      reason. The purpose of this scene, in each work, is to show the nanny’s
                  14      emulation of the mother.
                  15   x As in Emanuel, the mother in Servant enters a trance-like state several times,
                  16      which we understand to involve a moment when the awful truth of her baby’s
                  17      death might be percolating toward the surface of her consciousness. In both
                  18      works, the mothers snap out of these states rather easily due to external
                  19      distractions.
                  20   x In both works, the plot advances by way of a long and key scene involving an
                  21      intimate home birthday dinner celebration at a formal dining room table. In
                  22      both, the birthday setting facilitates an added measure of intimacy (in part
                  23      forced and in part real) between the characters. At each dinner, conflicts send
                  24      certain of the characters into other rooms for private conversations, leaving
                  25      awkward moments for those remaining at the table.
                  26   x In both works, the absurdity of the situation (which the viewer could easily
                  27      forget given how committed the nanny and mother are to the delusion) is

  ERIKSON
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LAW GROUP
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                                                              30                                COMPLAINT
                   1      sometimes depicted through unnerving or “creepy” shots of the doll—still (of
                   2      course), with wide open eyes.
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                   8                          The dolls, in Emanuel (left) and Servant (right)

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                  10   x Taking the idea a step further, Servant, like Emanuel, features a slightly
                  11      comical scene in which the doll is dropped in the entrance hall, only to be
                  12      picked up just before the mother sees. These scenes make the viewer slightly
                  13      uncomfortable because we have come to think of the doll as real.
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                  19              The doll, dropped in entrance hall, in Emanuel (left) and Servant (right)

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                  21   x Both works include a scene of the nanny taking the initiative to arrange a date
                  22      with a boy. In each, the nanny is shown to be more of a “bad girl” than we
                  23      might have thought, by directing her timid date to steal a bottle of red wine. In
                  24      Emanuel, the wine is to be paired with French bread and cheese, but we never
                  25      see the meal to fruition because Emanuel takes the date in a different direction.
                  26      In Servant, the nanny’s date suggests French bread and cheese, which is not in
                  27      fact consumed because the nanny has other ideas.

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                                                                     31                                       COMPLAINT
                   1     x Both works feature a re-birth of the dead child as an emotional high point. The
                   2        rebirth in each work is ambiguous in the sense that the reality and/or identity of
                   3        the baby is open to debate. In each work, the nanny is the key to bringing the
                   4        dead child back to life, partly in service of moving the mother beyond delusion,
                   5        and partly as a result of her fascination with the mother.
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                  11                 The dolls, come back to life, in Emanuel (left) and Servant (right)

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                  13     x Both works feature key imagery involving rain, puddles, and water. For
                  14        example, in Emanuel, the notable and extended scene where the doll comes
                  15        back to life takes place entirely underwater (as shown in beautiful sequences of
                  16        Emanuel underwater, but with a natural face). Likewise, the nanny in Servant is
                  17        shown underwater, but with a natural face. Also, in both works, water (in the
                  18        form of rain and puddles) helps delineate the boundary between the safe interior
                  19        of the home and the perilous outside world.
                  20        Sequence of Events
                  21        75.    Because the plots of Emanuel and Servant are so similar, and because
                  22 each unfolds in roughly linear chronology, the sequence of events in the two works

                  23 are extremely similar. But even beyond these stark similarities, there are several

                  24 examples where the similarity of sequencing is shocking. For example:

                  25     x As mentioned above, both works include an awkward job interview scene
                  26        (which obviously occurs early on). The scenes following the “interviews” are
                  27        uncannily similar as well. In Emanuel, it’s now night, and we cut back and forth

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                  28        between Emanuel looking out her bedroom window (at the mother) as she falls
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                                                                     32                                    COMPLAINT
                   1         asleep; and the mother as she rocks her baby to sleep. In Servant, it’s also now
                   2         night, and we cut back and forth between the nanny and the mother in their
                   3         respective bathtubs. In each scene, the mother and nanny are shown
                   4         alternatively in solitary moments—but with a strong sense that they are
                   5         connected during those moments.
                   6     x As also mentioned, each work includes a scene of the nanny looking on as the
                   7         mother applies makeup at her vanity in preparation for a date; followed by a
                   8         scene of the nanny sitting at the same vanity, applying the mother’s makeup in
                   9         the same manner as was the mother (which we observe in vanity mirror).
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                  15                The mother, readying for date, in Emanuel (left) and Servant (right)

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                  21               The nanny, emulating the mother, in Emanuel (left) and Servant (right)

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                  23     x   In both works, the nanny faints under stress—followed by the nanny’s point-of-
                  24         view shot as she regains consciousness to the sight of concerned faces.
                  25         Mood and Pace
                  26         76.   The mood of the two works is substantially similar. Both are played as
                  27 ominous “psychological thrillers,” with elements of magical realism—a rare

  ERIKSON
                  28 combination. Indeed, Ms. Gregorini’s choice to tell her nuanced emotional tale of
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                                                                    33                                      COMPLAINT
                   1 motherhood as a thriller was a bold and surprising one—and one parroted by

                   2 Defendants in Servant. In particular:

                   3     x Both works are tense throughout. In both works, the risk of secrets being
                   4        exposed, and the urgent and emotional need to protect those secrets, is meant to
                   5        feel like a ticking time bomb. One false move, or one prying eye, and the house
                   6        of cards would come tumbling down. As a result, the audience experiences
                   7        heightened feelings of suspense, excitement, surprise, anticipation and anxiety.
                   8     x Both works have an ominous mood, created by the use of camera angles,
                   9        lighting, and the choice of music (which is heavily featured to signify danger).
                  10        Both works use opera, for example, to achieve this result.
                  11     x As in Emanuel, Servant employs a technique where actors’ eyelines are so close
                  12        to being directly into the lens that the audience is invited directly into the center
                  13        of the uncomfortable tension. This technique of breaking the fourth wall is
                  14        extremely unusual, and uncomfortably amplifies the urgency and intimacy of
                  15        the mood.
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                  21              The nanny looking into the camera in Emanuel (left) and Servant (right)

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                  23     x Indeed, both works go so far as to show characters purposefully looking
                  24        directly into the camera—as a way of depicting the nanny’s point of view
                  25        when, after fainting from stress, she awakens to the gaze of concerned faces.
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                   7           Concerned faces gazing into camera, in Emanuel (left) and Servant (right)

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                   9   x As in Emanuel, Servant employs unusually tight shots of characters’ faces,
                  10      sometimes to the point where chins and hairline are cut off. The effect of this
                  11      camera and cinematographic technique is to create a feeling of uncomfortable
                  12      intimacy.
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                  18                     Cropped faces, in Emanuel (left) and Servant (right)

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                  20   x Both works use magical realism to create an otherworldly mood. In Emanuel,
                  21      this takes the form of water imagery. At first water escapes from under the
                  22      nursery door, then it rises up from nowhere in a subway car, culminating in an
                  23      underwater “rebirth” scene where the entire nursery is submerged. In Servant,
                  24      it’s not water but rather wood—that keeps finding a way into the father’s body.
                  25      At first, he gets a splinter in his finger, then in his rear end, then in his mouth,
                  26      and so on. In both works, the otherworldly magical realism is foreboding and
                  27      escalating.

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                                                                  35                                   COMPLAINT
                   1   x As in Emanuel, Servant uses the unusual cinematographic technique of
                   2      featuring characters in conversation in dark shadowy rooms—but with the sun
                   3      in their eyes (through horizontal blinds). In both works, the technique is mixed
                   4      with quick editing between tightly framed shots of the characters. The overall
                   5      effect again reflects the mood of both works: uncomfortable and dark.
                   6   x Both works proceed at a rapid pace. In each, the characters can barely keep up
                   7      with events as they unfold.
                   8   x As mentioned above, scenes of extended-family dinners are often used to
                   9      juxtapose intimacy and tension. This mood is furthered by the theme, in both
                  10      works, of cooking and food. In Emanuel, dinners are not simply prepared—they
                  11      are narrated. The menu is reported in detail, in the manner of a fine restaurant
                  12      (“herb roasted chicken with porcini mushroom stuffing”). Emanuel’s birthday
                  13      cake is painstakingly decorated by hand. So too in Servant, where elaborate and
                  14      exotic food, and its preparation, are keys to each episode.
                  15      Dialogue
                  16      77.    Emanuel and Servant share similar dialogue, including as follows:
                  17   x Both works feature scenes where the mother expresses that she sees herself in
                  18      the nanny—followed by surprisingly strong exclamations of affection.
                  19   x Both works feature scenes where the mother gives baby-care direction in
                  20      extremely realistic terms, demonstrating the depth of her commitment to the
                  21      delusion that the doll is real.
                  22   x Both works feature awkward question-and-answer scenes, where the mother
                  23      attempts to better know the nanny.
                  24   x Both works feature scenes where the father explains that the cause of the baby’s
                  25      death is unknown.
                  26   x Both works feature scenes in which the nanny tells the mother “you look
                  27      beautiful” as they discuss an impending date.

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                                                               36                               COMPLAINT
                   1        x Both works feature scenes where characters speculate that the nanny’s youth is
                   2           the explanation for her quirks and reticence.
                   3           Differences in the works
                   4           78.    Defendants will point to differences between Emanuel and Servant. But
                   5 what they call differences are really just content that was tacked on to Ms. Gregorini’s

                   6 story—usually in ways required when adapting a motion picture for use as an episodic

                   7 television series. Indeed, Defendants misappropriated the ninety-minute film Emanuel

                   8 for use as their first three half-hour episodes of Servant, which were released as a unit

                   9 on Thanksgiving 2019, and can be thought of as the series “pilot.” That each of the

                  10 subsequent thirty-minute weekly episodes introduces new self-contained vignettes or

                  11 sub-plots does not detract from the substantial similarity of Emanuel and Episodes 1-3

                  12 of Servant.10

                  13                      First Claim For Relief For Copyright Infringement
                  14                                      (Against All Defendants)
                  15           79.    Plaintiff incorporates by this reference all other paragraphs in this
                  16 pleading, as if fully set forth in full in this claim.

                  17           80.    In 2012, Emanuel Film LLC authored the motion picture The Truth
                  18 About Emanuel, then entitled Emanuel and the Truth About Fishes (the “Work”). The

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                  21      Indeed, in television, it is quite common for a series to offer a movie-like pilot—which establishes
                       characters within a self-contained story—and then build on those elements in subsequent weekly
                  22   episodes that use the story of the pilot as backstory to the series. The episodes can continue for many
                       years, of course—which is Mr. Shyamalan’s publicly-expressed ambition for Servant. Imagine, for
                  23   example, that Romeo and Juliet was still protected by copyright, and was improperly adapted as a
                       television pilot. That years of subsequent episodes—which might focus on the hilarious continued
                  24
                       misadventures of the Montagues and Capulets—did not continue to directly derive from the original
                  25   play would not somehow cure the original infringement. As Judge Learned Hand famously
                       remarked, “No plagiarist can excuse the wrong by showing how much of his work he did not pirate.”
                  26   The original infringement remains, of course, even if later episodes alter the meaning of the pilot. If
                       it were revealed at the end of Season 5 that Romeo was an alien, for example, that would have no
                  27   bearing on the substantial similarity of play and pilot.

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                                                                         37                                    COMPLAINT
                   1 Work is creative and original, constituting copyrightable subject matter under United

                   2 States law.

                   3         81.   In 2017, Emanuel Film LLC was dissolved and cancelled, and the
                   4 copyright in the Work was assigned to Plaintiff, who is the screenwriter, director, and

                   5 producer. Since that assignment, Plaintiff has been and still is the sole proprietor of all

                   6 rights, title, and interest in and to the copyright in the Work. Plaintiff has complied in

                   7 all respects with the Copyright Act and all other laws governing copyright. Plaintiff

                   8 has complied with 17 U.S.C. § 411 in that the deposit, application, and fee required

                   9 for registration have been delivered to the Copyright Office in proper form, and the

                  10 work has registered—U.S. Copyright Office Reg. No. PA0002213169.

                  11         82.   Defendants had access to Plaintiff’s work, as described above (including
                  12 its premier at Sundance and nationwide release).

                  13         83.   Defendants, with full knowledge of Plaintiff’s rights, infringed Plaintiff’s
                  14 copyrights by preparing an unauthorized derivative work; and by producing,

                  15 distributing, streaming, and transmitting Episodes 1 through 3, of Season 1, of the

                  16 television show entitled Servant.11

                  17         84.   As explained above, Servant is substantially similar to Emanuel.
                  18         85.   All such acts were performed by Defendants without the permission,
                  19 license, or consent of Plaintiff. Plaintiff has notified Defendants in writing of the
                  20 infringements. As described above, all Defendants have continued to stream and

                  21 otherwise distribute the infringing material even after receiving Plaintiff’s protests and

                  22 demands that such infringement cease.

                  23         86.   By reason of Defendants’ acts of copyright infringement, Plaintiff has
                  24 suffered, and will continue to suffer substantial damages to her business in the form of

                  25 diversion of trade, loss of profits, and a dilution in the value of Plaintiff’s rights and

                  26 reputation, all in amounts that are not yet ascertainable, but not less than the

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             For the purposes of this Complaint, “Servant” refers to Season One, Episodes 1-3, of the Apple
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         28 TV+’s original series Servant, which were first available for streaming on November 28, 2019.
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                                                                   38                                COMPLAINT
                   1 jurisdictional minimum of this Court. In particular, the value of Ms. Gregorini’s

                   2 intellectual property related to the Work has been greatly diminished. For example,

                   3 were it not for the Defendants’ infringement, Emanuel would be a valuable asset,

                   4 including as a television property. As it is, the market likely does not have room for

                   5 another television series about a nanny caring for a doll.

                   6         87.    By reason of Defendants’ infringement of Plaintiff’s copyright,
                   7 Defendants are liable to Plaintiff for the actual damages incurred by Plaintiff as a

                   8 result of the infringement, and for any profits of Defendants directly or indirectly

                   9 attributable to such infringement.

                  10         88.    In addition to compensating Ms. Gregorini for rendering Emanuel un-
                  11 adaptable for television, the Defendants must turn over their ill-gotten gains. In the

                  12 case of Apple, that is likely to be a staggering sum—given the unabashed manner in

                  13 which it has leveraged what it considers to be one of the best stories ever told to

                  14 aggrandize and promote its multi-billion-dollar foray into television.

                  15                                Second Claim For Relief For
                  16                  Contributory And Vicarious Copyright Infringement
                  17                                   (Against All Defendants)
                  18         89.    Plaintiff incorporates by this reference all other paragraphs in this
                  19 pleading, as if fully set forth in full in this claim.
                  20         90.    Each Defendant is contributorily liable for the infringement alleged
                  21 herein because each Defendant knowingly induced, participated in, aided and abetted,

                  22 and profited from the production of and/or subsequent sales of the infringing work.

                  23         91.    Each Defendant is vicariously liable for the infringement alleged herein
                  24 because each Defendant had the right and ability to supervise the infringing conduct,

                  25 including the practical ability to do so, and because each Defendant had a direct

                  26 financial interest in the infringing conduct.

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                                                                    39                              COMPLAINT
                   1                                          PRAYER
                   2        WHEREFORE, Plaintiff prays judgment against Defendants as follows:
                   3        1.      That Plaintiff is awarded all damages, including future damages, that
                   4 Plaintiff has sustained, or will sustain, as a result of the acts complained of herein,

                   5 subject to proof at trial;

                   6        2.      That Plaintiff is awarded her costs, attorneys’ fees and expenses in this
                   7 action;

                   8        3.      That Plaintiff is awarded pre-judgment interest;
                   9        4.      For an order permanently enjoining Defendants and their employees,
                  10 agents, servants, attorneys, representatives, successors, and assigns; and any and all

                  11 persons in active concert or participation with any of them, from engaging in the

                  12 misconduct referenced herein;

                  13        5.      That Defendants be ordered to immediately recall and sequester
                  14 inventories of the infringing material, and to supply accountings to Plaintiff’s counsel;

                  15        6.      That Defendants be ordered to deliver their entire inventories of
                  16 infringing materials to a mutually selected third party for supervised destruction;

                  17        7.      That Defendants be ordered to file with this Court and serve upon
                  18 Plaintiff’s counsel within thirty (30) days after service of the judgment demanded

                  19 herein, a written report submitted under oath setting forth in detail the manner in
                  20 which they have complied with the judgment;

                  21        8.      For disgorgement of all proceeds, and restitution of all monies received
                  22 by Defendants as the result of their wrongful conduct;

                  23        9.      For punitive damages in an amount sufficient to deter Defendants from
                  24 their wrongful conduct; and

                  25        10.     Such other damages and further relief as the Court may deem
                  26 appropriate.

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                                                                  40                                COMPLAINT
                       DATED: January 15, 2020   ERIKSON LAW GROUP
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                                                 By:   ___________________________
                   3                                   DAVID ERIKSON
                   4
                                                 Attorneys for Plaintiff Francesca Gregorini

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                                                         41                              COMPLAINT
                   1                              DEMAND FOR JURY TRIAL
                   2         Plaintiff hereby demands a jury trial on her claims on all issues triable by a
                   3 jury.

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                       DATED: January 15, 2020           ERIKSON LAW GROUP
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                   6
                                                         By:   ___________________________
                   7                                           DAVID ERIKSON
                   8
                                                         Attorneys for Plaintiff Francesca Gregorini

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                                                                  42                                COMPLAINT
